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                           UNITED STATES DISTRICT COURT
                                   District of Maine


HECTOR MOJICA,                               )
                                             )
            Movant                           )
                                             )
v.                                           )      2:07-cr-95-GZS
                                             )      2:10-cv-228-GZS
UNITED STATES OF AMERICA,                    )
                                             )
            Respondent                       )
                                             )


                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on February 4, 2011, her

Recommended Decision (Docket No. 529). Movant filed his Objection to the Recommended

Decision (Docket No. 546) on April 18, 2011.

       I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in her Recommended Decision, and determine that

no further proceeding is necessary.

       1.      It is therefore ORDERED that the Recommended Decision of the Magistrate Judge
               is hereby AFFIRMED.

       2.      It is hereby ORDERED that Movant’s 28 U.S.C. § 2255 motion (Docket No. 498) is
               DENIED.
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       3.     It is hereby ORDERED that no certificate of appealability shall issue in the event
              that Movant files a notice of appeal because there is no substantial showing of the
              denial of a constitutional right within the meaning of 28 U.S.C. § 2253(c)(2).


                                                   /s/George Z. Singal_____________
                                                   U.S. District Judge

Dated this 6th day of May, 2011.
